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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA
                                                     CRIMINAL NO. 23-0123 SAG
                       v.

 CHARLES JENKINS,

       Defendant.


                            MOTION TO DISMISS INDICTMENT

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed hereon, the United States Attorney for the District of Maryland hereby moves to

dismiss with prejudice the Indictments (ECF Nos. 1, 98) pending against Defendant in the

above-captioned case. Counsel for Mr. Jenkins consents to the relief requested herein.

                                               Erek L. Barron
                                               United States Attorney

                                    By         ___/s/_____________________
                                               Christine Goo
                                               Assistant United States Attorney


Advice to U.S. Marshal:      _X_1. Defendant is not in custody.
   (Check one)               ___ 2. Defendant is in custody and the USAO believes that:
                                    ___ a. there is no reason to hold Defendant further.
                                    ___ b. Defendant should be held in Federal custody
                                          (**explain below).
                                    ___ c. Defendant should be transferred to custody.
                                          (**explain below).
                             ___3. Defendant is deceased.

**Explanation:
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA
                                                       CRIMINAL NO. 23-0123 SAG
                        v.

 CHARLES JENKINS,

       Defendant.



               ORDER GRANTING MOTION TO DISMISS INDICTMENT

       Upon consideration of the United States’ Unopposed Motion to Dismiss the Indictment

with Prejudice, and consideration of the record in this case, the Court hereby orders that the

Indictments (ECF Nos. 1, 98) be, and hereby are, dismissed with prejudice pursuant to Rule

48(a) of the Federal Rules of Criminal Procedure. All pending motions in this case are hereby

dismissed as moot and all deadlines and court dates in the current scheduling orders are hereby

vacated.



DATE: ________________________                       ___________________________
                                                     Hon. Stephanie A. Gallagher
                                                     United States District Court
                                                     District of Maryland




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